






Opinion issued June 20, 2002










In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-02-00431-CV

____________


ROBERT H. STEELHAMMER INDIVIDUALLY AND AS ESCROW AGENT, 
Appellant


V.


SCHANSON PIPELINE PARTNERS, L.P. AND SCHANSON ENERGY, L.L.C., 
Appellees






On Appeal from the 129th District Court

Harris County, Texas

Trial Court Cause No. 2001-44196






O P I N I O N

	The parties have filed a joint motion to dismiss this appeal.  More than 10 days
has elapsed, and no objection has been filed.  No opinion has issued. Accordingly,
motion is granted, and the appeal is dismissed.  Tex. R. App. P. 42.1(a).

	All other pending motions in this appeal are overruled as moot.  The Clerk is
directed to issue mandate within 10 days of the date of this opinion.  Tex. R. App. P.
18.1.

PER CURIAM

Panel consists of Chief Justice Schneider and Justices Nuchia and Radack.

Do not publish. Tex. R. App. P. 47.


